Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 1 of 12




                  EXHIBIT B-112
      Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 2 of 12




                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                             ,I
                                       STATE OF GEORGIA


INRE:                                           )
SPECIAL PURPOSE GRAND JURY                      )      2022-EX:-000024
     II·                                        )
Witness:                                        )      Judge Robert C. I. McBurney
Eric Daniel Herschmann                          )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       COMES ~OW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §
        ,'

24-13-92 et seq., and in support thereof says as follows:
        I




        1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

             by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

             Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

             Grand Jury is authorized to investigate any and all facts and circumstances relating

             directly or indirectly to possible attempts to disrupt the lawful administration of the

             2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

             J;ury,"Exhibit ~".
        II

       f· While Georgia law authorizes special purpose grand juries to conduct both civil and
                                                                              i
                                                                              i
             criminal investigations, the Special Purpose Grand Jury's investigation is criminal in
                    • th at 1t
             nature m       • was requeste d .c
                                             1or th e purpose of mvest1gatmg
                                                                 •           I . . al d'1srupt10ns
                                                                      • • ~nmm               •
                                                          •                  j

                                                                              ''
             related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 3 of 12




      authorized to make recommendations concerning criminal prosecution. Further, the
                                                                      I
      authority for a special purpose grand jury to conduct a criminal investigation has been
                                                                      I
      upheld by the Supreme Court of Georgia. See State v. Lampl, ~96 Ga. 892 (2015).
                                   •                                  I




      Accordingly, the provisions of the Uniform Act to Secure the Attendance of

      Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

3. Eric Daniel Herschmann, born May 7, 1962, (hereinafter, "the Witness") is a

      necessary and material witness to the Special Purpose Grand Jury's investigation.

      Through both its investigation and through publicly available information, the State

      has learned the following information.

4. From approximately August 3, 2020, through January 21, 2021, the Witness served as

      a senior adviser to former President Donald Trump and was present for multiple

      meetings between former President Trump and others related to the 2020 election.

 5. According to information made publicly available by the United States House of

 :    Representatives Select Committee to Investigate the January 6th Attack on the United
 'i
 I


      States Capitol, the Witness testified to the Committee that had multiple conversations

      with John Eastman, Rudy Giuliani, Sidney Powell, and others known to be associated

      with the Trump Campaign, related to their efforts to influence the results of the

      November 2020 elections in Georgia and elsewhere.

 6. According to information made publicly available by the United States House of

      Representatives Select Committee to Investigate the January 6th Attack on the United

      States Capitol, the Witness testified to the Committee that on J~uary 7, 2021, he had
                                                                      I


      a heated conversation with John Eastman specifically concemihg efforts in Georgia,
                                                                      !
Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 4 of 12




    at the conclusion of which the Witness told Eastman, "Get a great fing criminal

    defense lawyer. You're gonna need it."
                                                                     I
7. According to the United States Senate Judiciary Majority Staff:Report "Subverting

    Justice: How the Former President and His Allies Pressured DOJ to Overturn the

    2020 Election," the Witness was present at a widely-reported meeting at the White

    House between former President Trump, former Acting Attorney General Jeffrey

    Rosen, former Acting United States Deputy Attorney General Richard Donoghue,

    former White House Counsel Pat Cipollone, and others, on January 3, 2021. The

    focus of the meeting was whether to fire Rosen and replace him with Jeffrey Clark, a

    Department of Justice attorney who had supported sending a letter from the

    Department of Justice to Georgia Governor Brian Kemp and other high-ranking

    Georgia officials recommending the calling of a special legislative session in Georgia.

    Rosen was ultimately not fired, and the letter was ultimately not sent.

 8. According to media reports, the Witness was also present for a meeting at the White

    House on December 18, 2020, between former President Trump, Sidney Powell,

    Michael Flynn, and others known to be associated with the Trump Campaign to

    discuss topics including invoking martial law, seizing voting machines, and

    appointing Powell as a special counsel to investigate the 2020 election. According to

    media reports, the Witness was highly critical of the meeting.

 9. The Witness, based on his former position as a senior advisor to former President
    Trump, his relevant conversations with individuals known to be associated with the

    Trump Campaign, and his presence at multiple relevant meetings, is a necessary and
                                                                     I
    material witness. The Witness possesses unique knowledge concerning the
Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 5 of 12



                                                                       I
    communications between himself, the Trump Campaign, and other known and
                                             ,                        I
    unknown individuals involved in the multi-state, coordinated efforts to influence the
                                                                      I
    results of the November 2020 election in Georgia and elsewhe)e. Finally, the

    Witness's anticipated testimony is essential in that it is likely to reveal additional

    sources of information regarding the subject of this investigation.

 10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 11. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 12. The Witness currently resides in Austin, Travis County, Texas.

 13. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Tuesday, November 22, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 14. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with the Uniform Act

    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

    See O.C.G.A. §24-13-90 et seq.

 15. If the Witness comes into the State of Georgia pursuant to this request, directing the

    Witness to attend and testify before the Special Purpose Grand Jury, the laws ofthis

    State shall give the Witness protection from arrest and from service of civil or
                                                                      i


    criminal process, both within this State and in any other state through which the
      Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 6 of 12




           Witness may be required to pass in the ordinary course of travel, for any matters
                                                                              I

           which arose before the Witness's entrance into this State and oiher states.
                                                                              I
       16. Both Georgia and Texas have adopted the Uniform Act to Secrire the Attendance of

           Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-90;

           Tex. Code Crim. Proc. Art. 24.28.

       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 7th day of October, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       ATLANTA JUDICIAL CIRCUIT




                                                                      23955 i
                                                                                  UJL
                                                        tlanta Judicial Circuit
                                                       136 Pryor Street Southwest
                                                       Third Floor
                                                       Atlanta, Georgia 30303
Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 7 of 12




                    Exhibit A
   Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 8 of 12




                                                                           i
                     IN THE SUPEl!UOR COURT OF FUL'ifON COUN"FY
                             ATLANTAJUDICIALCIRCUIT        .,·1l·)t1   _c;v r-,f-.../,L".\•1L[.
                                  STATE OFG.EORGIA
                                                             ~JJ¥D
                                                           '!-1...rd-,,t.,,vi\ LUU •d- (
                                                                                   IN OFFICE

IN RE: REQUEST FOR                                                V-1                            1J
       SPECIAL PURJPOSE                                           ,.k
       GRA."l'IDJURY                                             .
                 ORDER APPROVINGREQUEST FOR SPEC;:,._P_UR-PO_S_E   __                   0
                 GRAND JURY PURSUANT TO O.C.G.A. ~15-12-100, et seo.

          The DistrictAttorneyfor the AtlantaJudicialCircuitsubmittedto the judges of the

Superior Comt of Fulton Countya requestto impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majorityof the total

numb.erof the judges of this Court, as requiredby O.C.G.A. §15-12-IO0(b).

          IT [S THEREFORE ORDEREDthat a Specialpurpose grand jury be drawn and

impaneledto serve as provided in O.C.G.A.§ 15-12-62.l,15-12-67,and 15-12-100,to

commence on May 2, 2022, and continuing for a period not to ex.ceed 12 months. Such period

shall not include any time periodswhenthe supe1visingjudge determines that the special

purposegrandjury cannot meet for safetyor otherreasons, or any time periodswhennormal

court operationsare suspendedby orderof the SupremeCourtof Georgiaor.the Chief Judgeof

the Superior Court. The special purposegrand jury shallbe authorizedto investigateany and all

facts ~nd circumstances relatingdirectlyor indirectlyto alleged violationsof the laws of the
      '

State of Georgia, as set forth in the request of the District Attorneyreference# herein above.
      i
      .'.Pursuant to O.C.G.A. § 15-12-101
                                                                               '
                                        (a), the Honorable Robert C. I. McBurneyis hereby

assign~dto superviseand assist the specialpurposegrandjury, a.ridshall cha~gesaid special

purposegrandjury and receiveits reportsas providedby law.
    Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 9 of 12


                                                                              I
                                                                              I
                                                                              I
.   '. This authoriz;ation ahall include the investigation of any overt acts dr predicate acts

rela;ing to the subj eel of the special purpose grand jwy' s investigative p1ose.   The special

purpose grand jury, when making its presentments and reports, pursuant to 9.c.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grand jury(ies) impaneled in this Circuit to continue to
            (




be devoted to the consideration of the backlog of climinal matters that has accumulated asa

result ofthe COVID-19 Pandemic.




                                CHRISTOPRERS. BRASHER~IEF                  JUDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 10 of 12




                     Exhibit B




                                                    ,   I
                Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 11 of 12


                                                                                  I
                              OFFICE OF THE FULTONCOUN1YDISTRICTATTORN\EY
                                         ATLANTA
                                               JUDICLI\L
                                                      CIRCUIT
                                      136PRYORSTREETSW,3RDFLOOR                    1




 ,.,...,..,.. -:r,,=r-;i,1r
                                         ATLANTA, GEORGIA30303
                                                                                      ,TELEPHONE404-612-4639
  ni JI. '-h#Jj
.%-1
District Attorney
                                                                                      II


        The Honorable Christopher S. Brasher
                                                                                  tD2-2-·-E.X-DODDl7
        Chief Judge, Fulton County Superior Court                                      FILED IN OFFICE
        Fulton County Courthouse                                                                           J)
        185 Central Avenue SW, Suite T-8905
        Atlanta, Georgia 30303

        January 20, 2022

         DearChief Judge Brasher:

        I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
        Officehas received information indicating a reasonable probabilitythat the State of Georgia's
        administration of elections in 2020, includingthe State's election of the President of the United
        States, was subject to possible criminal disruptions. Our office has also learned that individuals
        associated with these disruptions have contacted other agencies empowered to investigate this
        matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
        States Attorney's Office for the Northern District of Georgia,leaving this office as the sole
        agency with jurisdiction that is not a potential witness to conductrelated to the matter. As a
        result, ouroffice has opened an investigation into anycoordinatedattempts to unlawfully alter
        the outcome of the 2020 elections in this state.

         We have made efforts to interview multiple witnesses and gather evidence, and a significant
         number of witnesses and prospective witnesses have refused to cooperate with the investigation
         absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
         Brad Raffensperger, an essential witness to the investigation,has indicated that he ·willnot
         participate in an interview or otherwise offer evidence until he is presented with a subpoena by
         my office. Please see Exhibit A, attached to this letter.

         Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
         to O.C.G.A. § 15-12-100 et. seq., that a specialpurpose grandjury be impaneledfor the purpose
         of investigatingthe facts and circumstancesrelatingdirectlyor indirectlyto possibleattemptsto
        disruptthe lawful administration of the 2020 elections in the State of Georgia. Specifically, a
        special purpose grand jury, which will not have the authority to return an indictment but may
        make recommendations concerning criminal prosecution as it shall see fit, is needed for three
        reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
        required in order to accomplish its investigation, which will likely exceed a normal grandjury
            Case 1:23-cv-03721-SCJ Document 1-123 Filed 08/21/23 Page 12 of 12




     tenn; second, the special purpose grandjury would be empqweredtorevi~w       thismatter and this
     matter only, with an investigatory focus appropriateto the complexity of',thefacts and
     circumstances involved; and third, the sitting grandjury would not be required to attempt to
     address this matter in addition to their normal duties.                  \

    Additionally, I am requesting that, pursuant to 0.C.G.A. § iS-12-101, a Fulton County Superior
    CourtJudgebe assigned to assist and supervisethe special purpose grand'jury in carrying out its
    investigation and duties.

     I have attached a proposed order impaneling the special purpose grandjury for the consideration
     of the Court.



  ~\h)~
<9.~uhl
'-mstrict     Attorney, Atlanta Judicial Circuit

     Exhibit A: Transcript of October 31, 2021 episode of lvfeetthe Press on NBC News at 26:04
     (video archived at https://www.youtube.com/watch?v=B7lcBRPgt9k)
     Exhibit B: Proposed Order

    cc:
    The Honorable K.ii-riberlyM. Esmond Adams
    The Honorable Jane C. Barwick
    The Honorable Rachelle Camesdale
    The Honorable Thomas A. Cox, Jr.
    The Honorable Eric Dunaway
    The Honorable Charles M. Eaton, Jr.
    The Honora.bleBelinda B. Edwards
    The Honorable Kelly Lee Ellerbe
    The Honorable Kevin M. Fanner
    The Honorable Ural Glanville
    The Honorable Shakura L. Ingram
    The Honorable Rachel R. Krause
    The Honorable Melynee Leftridge
    TheHonorableRobertC.I. :tvlcBurney
    TheHonorableHenryM. Newkirk
    TheHonorable Emily K. Richardson
    The Honorable Craig L. Schwall, Sr.
    The Honorable Paige Reese Whitaker
    The Honorable Shermela J. \Villiams
    Fulton C01mty Clerk of Superior Court Cathelene "Tina" Robinson
